          Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 1 of 22



                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


ADMI INC, TARSIN MOBILE INC., by their CEO,
JOSEPH R. CELLURA and JOSEPH R.
CELLURA, Individually,

                             Plaintiffs,
            VS.

ALLEN D. MOYER, ADMI INCORPORATED,
AND DOES 1-2,
                     Defendants.


           Plaintiffs’ Memorandum of Law in Response to Defendants’ Motion to Dismiss Fed.
           R. Civ. P. 12(b)(2) & 12(b)(5) and in Support of Plaintiffs’ Fed. R. Civ. P. 4(m) Motion
           and for Judicial Discovery of Personal Jurisdiction and Venue Fed R. Civ P. 13(a).


Respectfully submitted,

                                            ___________________________________________
                                             Douglas R. Dollinger, Esq. 5922
                                             Law Offices of Douglas R. Dollinger, PC
                                             570 County Rt 49
                                             Middletown, New York 10940
                                             Telephone 845.741.9363
                                             Email ddollingeresq@gmial.com
                                             Attorney for Plaintiffs
             Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 2 of 22




                                                    TABLE OF CONTENTS

                                                                                                                                  Page No.

Table of Authorities....................................................................................................................ii-iii

Introduction.........................................................................………………………….……………1

Procedural Background……………………………………………………………………………2

Plaintiffs Allegations…………………………………………………………………………………………..3

Argument I.....................................................………………………………………..……………2

  A.       Defendants Have Been and Continue to Engage in Bad Faith Such That
           Good Cause Exists to Extend the Plaintiffs’ Time for Service of Process ……………...5

           1. Counsels’ Agreement and Terms of the Requested Stay…….………………………...7
           2. Rule 4(m) Provides 90 Days to Serve Process…………………………………………7
           3. The Court Granted a Stay, Plaintiff has Until September 20, 2023, to Serve…………8
Argument II………………………………………………………………………………………….5

  B.       Defendants’ Purposeful Activities in New York Establish Personal Jurisdiction
           Over Them Pursuant to New York’s Longarm Statute C.P.L.R. 302 (a)(1)………………9

           1. Long-arm Jurisdiction Exits Over the Defendants
              Pursuant to N.Y. C.P.L.R. 302(a)(1)……………………………………………….…….10
           2. Defendants Acts Constitute Minimum Contacts and Satisfy Due Process……………15
           3. Plaintiffs are Entitled to an Order Granting Discovery to Avoid Injustice………….16
           4. The First to File Rule is Controlling not the First to Serve………………………….16
           5. New York is the Proper Venue……………………………………………………….17

Conclusion.....................................................................................................................................18




                                                                        i
            Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 3 of 22




                                              TABLE OF AUTHORITIES

Cases                                                                                                                            Page

Albert Fadem Trust v. Duke Energy Corp., 214 F.Supp.2d 341, 343 (S.D.N.Y. 2002)…………17

Best Van Lines, Inc. v. Walker, 490 F.3d 239, 242 (2d Cir. 2007)..........................................9,10,16

Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476 (1985)...........................................................16

Deutsche Bank; Henderson v INS, 157 F3d 106, 123 [2d Cir1998]................................................11

Deutsche Bank Securities, Inc. v Montana Board of Investments,
   7 NY3d 65 [2006]....................................................................................................................10

D.H. Blair Co., Inc. v. Gottdiener, 462 F.3d 95, 104 (2d Cir. 2006)............................................9,17

Employers Ins. of Wausau v. Fox Entertainment Group, Inc.,
  522 F.3d 271, 274 (2d Cir. 2008)..............................................................................................17

First City Nat’l Bank & Trust v. Simmons, Page 878 F.2d 76, 79 (2d Cir. 1989)............................17

Fischbarg v Doucet, 9 NY3d 375, 380 [2007]..........................................................................11-13

Hanson v Denckla, 357 US 235, 253 [1958]...................................................................................11

In re Cuyahoga Equip. Corp., 980 F.2d 110, 117 (2d Cir. 1992)…………………………………17

In re Magnetic Audiotape Antitrust Litig., 334 F.3d 204, 206 (2d Cir. 2003) ................................10

Kreutter v McFadden Oil Corp., 71 NY2d 460, 467, 527 NYS2d 195 [1988])..........................10,12

Lebel v Tello, 272 AD2d 103, 707 NYS2d 426 [1st Dept 2000])....................................................10

McKee Electric Co. Inc. v Rauland-Borg Corp, 20 NY2d 377, 382 [1967])...................................10

Meeropol v. Nizer, 505 F.2d 232, 235 (2d Cir. 1974)....................................................................17

New York Marine and General Ins. Co. v. LaFarge North America, Inc.,
   599 F.3d 102, 112 (2d Cir. 2010)..............................................................................................17

Ontel Products, Inc. v. Project Strategies Corp.,
   899 F. Supp. 1144, 1150 (S.D.N.Y. 1995)................................................................................17

PDK Labs, Inc. v. Friedlander, 103 F.3d 1105, 1109 (2d Cir.1997)...............................................12



                                                                   ii
            Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 4 of 22




                                       TABLE OF AUTHORITIES CONT.
Cases                                                                                                                       Page

Porina v. Marward Shipping Co., Ltd., 521 F.3d 122, 127 (2d Cir. 2008)......................................15

Piper Aircraft Co. v. Reyno, 454 U.S. 235, 255, 102 S.Ct. 252, 70 L.Ed.2d 419 (1981)…………..18

Salomon Smith Barney, Inc. v. McDonnell, 201 F.R.D. 297, 303 (S.D.N.Y)..................................12

Schnabel v. Ramsey Quantitative Systems, Inc.,
   322 F. Supp.2d 505, 511 (S.D.N.Y. 2004)................................................................................17

Serio v. Surge Resources, Inc., 2006 WL 559460, at *4 (S.D.N.Y. March 7, 2006)...................14,16

Sony Music Entertainment Inc. v Does 1-40
   326 FSupp2d 556 [SDNY 2004]).............................................................................................16

Sterling Nat'l Bank & Trust Co. of NY v Fidelity Mortgage Investors,
    510 F2d 870, 873 [2d Cir1975])...............................................................................................10

Sole Resort, S.A. de C.V. v. Allure Resorts Mgmt., LLC,
     450 F.3d 100, 103 (2d Cir. 2006)............................................................................................14

Trceline Inv. Partners, LP v. Koren, No. 07 Civ. 1964,
      2007 WL 1933860, at *2 (S.D.N.Y. July 3, 2007)................................................................16

United States v. Avenatti, (S1) 19 Cr. 373 (PGG) (S.D.N.Y. Jul. 6, 2021)........................................6

Volkart Bros., Inc. v M/V Palm Trader, 130 FRD 285, 290 [SDNY 1990])....................................16

Federal Codes-Statutes:

Fed Rule Civ. P. 4(m)………………………………………………………………………..5,6,7,8

Fed Rule Civ. P. 12(b)(2)………………………………………………………………………1,3,5

Fed Rule Civ. P. 12(b)(5)………………………………………………………………………1,3.5

Fed Rule Civ. P. 13(a)………………………………………………………………………….3,17

Fed Rule Civ. P. 1404(a)…………………………………………………………………………17

New York State Statutes:

CPLR 302(a)(1)……………………………………………………………………………..Passim

                                                                iii
         Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 5 of 22




                                             Introduction.

       This Memorandum, Plaintiff Cellura’s, Counsel’s Declarations, Plaintiffs’ Amended

Summons-Complaint and its Exhibits “A”-“H” are submitted in response to the Defendants’

12(b)(2) & (5) Motion and in support of the Plaintiffs’ Cross-Motions for an Enlargement of Time

to Perfect Service of Process for Jurisdictional Discovery and Venue. There are two components

and predicates to the lack of personal jurisdiction raised as a defense to these proceedings.

        The first component involves service of process, which implicates due process

requirements of notice and opportunity to be heard, claiming because they were not “properly”

served Defendants are not subject to the jurisdiction of the Court. The second argument involves

the power, or reach, of this Court over the Defendants to enforce the Courts’ orders and decrees

with there being a constitutionally adequate connection between the Defendants, the State, and the

action. Neither of these defenses has merit and this Court must deny the motions.

       To begin with, the Plaintiffs’ time to perfect service has not yet expired due to the stay in

these proceedings and the pending motions. Notwithstanding the arguments presented in their

motions, the Defendants are subject to the personal jurisdiction of this Court. The evidence

supports a finding that there is a direct relationship between Plaintiffs’ claims for fraud, civil

conspiracy and tortious interference linking the Defendants’ purposeful activities in New York to

the Plaintiffs’ business and property injuries in New York.

         Accordingly, CPLR § 302(a)(1) provides a proper basis for personal jurisdiction over

the Defendants.

       The Court should first consider and be aware the Defendants have admitted to their

activities in New York having pled the facts in their California Action. Their pleading also admits

a direct nexus with the core claims in this case. Dkt-27.2¶18.) Nevertheless, despite these


  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                                Page 1 of 18
           Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 6 of 22




admissions, if there is any doubt remaining on the issue of personal jurisdiction it should be made

only after jurisdictional discovery has been exchanged, including depositions of the parties.

                                         Procedural Background.

         Plaintiffs were first to file their Action on November 2, 2022. (Dkt-5.) Notice of updated

service report over the Defendants was filed on November 30, 2022. (Dkt-19 & 22.)1 On November

23, 2022, Plaintiffs’ filed an ex-parte motion to serve by email for the deliberate avoidance of service

over the Defendant Moyer, individually, and as the agent for ADMI Incorporated. (Dkt-20.) On

November 30, 2023, Plaintiffs filed an updated service report indicating multiple attempts made to the

Defendants at their place of business and Defendant Moyer’s home. (Dkt-22.) On December 8, 2022,

Plaintiffs’ Counsel received a written request with terms from Defendants’ attorney Edward Kerns to

stay Plaintiffs’ New York Action for the purpose of settlement negotiations. The email was copied to

Attorney Michael Kouri and terms approved by the Plaintiff Cellura. (Cellura Decl.¶2, Exhibit “A”.)

         On December 9, 2022, this Court granted the parties a stay of the proceedings to engaged in

settlement discussions, which included the terms that in the event of settlement breakdown the

Plaintiffs would file an amended complaint and Defendants would file their answer or file any other

motion within 30 days of Plaintiffs filing their amended complaint. (Dkt-23-24.) However, on June

30, 2023, Defendants filed a complaint in the Northern District of California against Plaintiffs


1
  Defendants erroneously claim that Counsel’s statement means service was perfected and not updated
requires the Court to disregard the filing sequence and content of the documents filed pre and post their
submission of the Motion to Enjoin. (Counsel’s Declaration and letter of July 27, 2023, inadvertently
misstated service was complete. (Dkt-25 & 27.) However, the correspondence advising the Court and
proof of service clearly indicates the Affidavits of Service were filed as an “update” as proof to the
multiple attempts at service and proof of the Defendant Moyer’s intentional avoidance of service. (Dkt-
19 & 22, Jose Marin Decl.) They were submitted in support of the motion for an Order allowing email
service. That motion was withdrawn for the reason Edward Kerns, an attorney located in California,
contacted the undersigned, and identified himself as counsel for the Defendants. Counsel for the parties
entered into an agreement to negotiate a settlement or otherwise address Plaintiffs’ Complaint and a
motion to quash service. Obviously, Attorney Kerns received the Complaint from somewhere most likely
Defendant Moyer. The Court was notified and approved the matter allowing the motion to be withdrawn
and ordered the proceedings be stayed based on the Agreement among Counsel. (Dkt-23 & 24.)
    Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                                  Page 2 of 18
         Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 7 of 22




(hereinafter “the California Action”). (CA-Dkt-1, CIVIL DOCKET FOR CASE #: 5:23-cv-03004-

SVK). On July 18, 2023, Defendants served Plaintiffs with the complaint for the California Action.

(CA-Dkt-9 & NY Dkt27.2.)

        On July 27, 2023, Plaintiffs sought permission to lift the stay and file a motion to enjoin. (Dkt-

25.) The Court granted the request on July 28, 2023. (Dkt-26.) On July 31, 2013, Plaintiffs filed their

Motion to Enjoin the California Action under the First Filed Rule, asserting a claim that the California

Action was nothing more than a compulsory counterclaim to the Complaint pending before this Court

pursuant to Fed. R. Civ. P13(a). (Dkt-27 & 27.2.) Plaintiffs served Attorneys Kerns and Kouri via

Federal Express. Federal Express completed delivery to Attorney Kouri. (Dkt-28.3). No Response

was received. Attorney Kerns parcel was undeliverable as the office was permanently closed. (Jose

Marin Decl.) On August 18, 2023, Plaintiffs filed a Proposed Order and Declaration with proof the

motion was served on Counsel via Federal Express. (Dk-29 & 30.2.) No response was received. On

July 28, 203 the Court issued an Order to Show Case. (Dkt-32.)

        On August 21, 2023, Counsel for the Defendants was served with the Motion to Enjoin. (Dkt-

31.) They have been granted Pro-Hac Vice admission limited to a special appearance. (Dkt-33-37.)

On August 28, 2023, Defendants filed their Motion for Dismissal pursuant Fed. R. Civ. P 12(b)(2)

&(5), claiming a lack of personal jurisdiction, due to improper service, and insufficient contacts with

New York. (Dkt-41.) Plaintiffs have filed their Amended Summons and Complaint on notice as of

right. (Dkt-48-50.) On September 13, 2023, the Defendants notified the Court they are proceeding on

their original motion to dismiss as filed. (Dkt-52.)

                                         Plaintiffs’ Allegations.

        The Plaintiff ADMI-NV has its principal place of business in New York and after a

year-long series of negotiations obtained a license (hereafter “Agreement”) to provide its


  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                                Page 3 of 18
         Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 8 of 22




proprietary SaaS IP services for a famous mark and brand with its New York partner Authentic

Brands Group in May 2021, (hereinafter “NY Partners” and/or “ABG”.) (Dkt-48 ¶¶5, 13-15 &

Cellura Decl. ¶18.); that shortly prior thereto in or about February 2021, Plaintiff Cellura, at

the request of Defendant Moyer, introduced him to ABG executives in New York providing

Defendant ADMI-CA’s Marketing Deck for site and construction development services (Dkt-

48 ¶62 & Cellura Decl.¶19-20, Exhibits “B” & “C”.); that in or about September 2022,

Defendant Moyer discovered the Plaintiffs’ and ABG Agreement; that without justification or

a lawful right to do so the Defendant Moyer and his attorneys began sending correspondence

(emails and an attorney letter to Plaintiffs and others-Exhibits “D”-“H”.) containing fraudulent

and intentionally false statements, intended to cause fear in Plaintiffs, threatening to bring an

end to Plaintiffs’ business Agreement with ABG; that the letter was written in a manner

intentionally omitting information and facts so as to make the statements true and constitute a

fraud, part of a plan and scheme among Moyer and his Attorneys intended to coerce and

otherwise extort Plaintiffs ADMI-NV and TMIX of cash and securities by falsely claiming that

Plaintiff Cellura stole the Defendants’ imagery-likeness and used their identity to obtain the

Agreement (Dkt-48 ¶¶99, 103,116, 118, 149, Dkt-27-2¶2, Cellura Decl.¶ 23.); that as part of

the scheme the Defendant Moyer unlawfully and without justification demanded that he and

ADMI-CA be included in TMIX and the ADMI-NV New York-ABG Agreement (Cellura

Decl.¶¶22-29, Exhibits “D”-“H”.); that Defendants unlawfully and unjustly demanded that

Plaintiffs pay money and securities between Eight Million ($8,000,000) Dollars and Fourteen

Million ($14,000.000) Dollars, (Dkt-48 ¶102 Cellura Decl. ¶24, Exhibits “D” & “H”.); that the

Defendants’ California Action admits Plaintiff ADMI-NV has its principal place of business

in New York. (Dkt-2.2¶4.); that Defendant Moyer has a business relationship with ABG in


  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                                Page 4 of 18
           Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 9 of 22




New York; that Defendant Moyer contacted ABG concerning the Plaintiffs-ABG Agreement

claiming the Partners were “confused” by Plaintiffs’ impersonation of him-ADMI-CA and

executed the Agreement with Plaintiffs, falsely believing they were doing so with him and

ADMI-CA as the real intended beneficiaries of the contract (Dkt-27.2¶¶18-21.); that Plaintiffs’

claim the collective Defendants intentionally, unlawfully and without justification engaged in

false claims related to Plaintiffs Agreement with ABG (Cellura Decl.¶18-26.); that Plaintiffs

have suffered consequential and special damages by reason of the Defendants’ conspiracy to

interfere, coerce and extort Plaintiffs, that the Defendants have acted maliciously intending to

destroy Plaintiffs’ business relationships in New York, including their names and business

reputations (Cellura Decl.¶29-30.); that the Plaintiffs seek injunctive relief prohibiting

Defendants from further interference with their New York partners and potential business

relations in New York. (Dkt-48 ¶¶181-182.)

                                                Argument I.

     A. Defendants Have Been and Continue to Engage in Bad Faith Such That,
        Good Cause Exists to Extend the Plaintiffs’ Time for Service of Process. 2

          It is obvious why the Defendants do not acknowledge the agreement reached with

Attorney Kerns and the effect the stay issued by this Court had on service. (Dkt-30.) They are

acting in bad faith and are bound by the terms of the agreement and now invite default for their

failure to honor that commitment. Instead of honoring the terms of the agreement, Defense

Counsel presents a spurious claim that Fed. R Civ. P. Rule 4(m) acts as a preclusion for lack of

service for any period beyond the 90-days for process under the Rule.



2
  Under Fed. R. Civ. P. 12(b) Defendants are obligated to accept service or pay the added cost in
perfecting service and this motion practice. Defendant Moyer’s Declaration and Counsel letter are each
a deliberate avoidance of service under the Rule. Plaintiffs are preparing two separate Motions on the
bad faith and unnecessary cost of these proceedings.
    Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                                  Page 5 of 18
          Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 10 of 22




          Hopefully, their bad faith has not escaped the Court’s attention. Defense Counsel makes a point

to allege incompetency on the part of Plaintiffs’ Counsel in perfecting service and the failure to recognize

the Court’s lack of in personam jurisdiction, doing so while: 1) ignoring the parties Agreement; 2)

refusing to accept service of the Summons and Complaint, sidestepping the Defendant Moyer’s

improper acts in delaying these proceedings where the Defendant Moyer’s own words are compelling:

“I never authorized any of my attorneys to accept or waive service of process on my behalf. My attorneys

never asked me to accept or waive service of process on my behalf. New York has no personal

jurisdiction over me, I would never permit my attorneys to accept service of process on my behalf.”

(Dkt-38-2¶8.); 3) the Defendants’ admit to facts in their California Action establishing New York’s

personal jurisdiction over them. The facts are core to the issues before this Court, a claimed dispute

arising from the Plaintiffs Agreement with ABG; 4) and now refusing to accept service of the Amended

Summons and Complaint as requested. (Dkt-48, 27.2¶18, Cellura Decl.¶¶22-29, Exhibits “D”-“H”.)3

           Even without the proof of their letter and emails, each of which establishes the real reason

to avoid this Court’s jurisdiction, there can be little doubt Defendants and their Counsel are acting

in bad faith. Plaintiffs’ counsel reasonably relied on three factual and legal matters, each of which

provides proof of good cause on the part of Plaintiffs: 1) the Agreement among Attorney Edward

Kerns, Counsel for Defendants concerning his request for a stay to negotiate a settlement and the

tolling of all statutes of limitations; 4 2) the provisions of Rule 4(m) granting 90 days for service;


3
  See, United States v. Avenatti, (S1) 19 Cr. 373 (PGG) (S.D.N.Y. Jul. 6, 2021). The facts-Exhibits,
and law are on all fours with this case and constitute unlawful activity. (Cellura Decl. Passim, Dkt-48,
Exhibits “A-J”.) Incredibly, Counsel provided a threatening letter constituting a part of the plan to
extort Plaintiffs directing Moyer to serve the letter on Plaintiffs such that they were acting unlawfully
as conspirators to coerce and otherwise extort the Plaintiff Companies of their money and securities,
where the letter expresses their intent “is to make assurance that [the recipients] do not engage in
business with Cellura” such that the letter constitutes interference in Plaintiffs’ Agreement and
business relations with ABG as matter of law.
4
  Plaintiff Cellura in his individual capacity and as the CEO of ADMI-NV and TMIX intended to
engage in the negotiations with Defendant Moyer but became ill in early February 2023. (Mr. Cellura
    Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                                  Page 6 of 18
        Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 11 of 22




3) reliance in the Court’s order granting a stay under Rule 4(m) to perfect service though process

or consent to accept service under the Rules.

            1.         Counsels’ Agreement and Terms of the Requested Stay.

       Defendants’ Agreement with Plaintiffs’ Counsel required the parties to proceed on notice

having previously engaged the power of the Court to stay the proceedings. There were express

terms for resuming the action if the matter did not settle, a condition violated by Defense Counsel

in filing the California Action presenting good cause to deny the Defendants’ Motion and holding

that New York is the proper venue.5 (Exhibit “A”.)

       The relevant portions of that Agreement provide:

                 2. That all statutes of limitation in all states will be reserved and stayed;
                 3. That should mediation fail and we are required to proceed, we will
                    have 30 days notice in which to make a special appearance or
                    otherwise and bring a motion to dismiss/quash service of the
                    complaint based on lack of jurisdiction or otherwise.

       2.         Rule 4(m) Provides 90 Days to Serve Process.

        This Court must also reject any argument that the time to serve the First filed Complaint

Amended Complaint has expired. Rule 4(m) provides that the Plaintiffs have 90 days to serve

process, but provides additional time to serve Defendants for good cause.

       Federal Rule of Civil Procedure 4(m) states:


and Mr. Moyer were at onetime good friends and it was hopeful they could simply mend fences and
get back to work.) Due to his illness, Mr. Cellura was unable to directly engage in settlement
negotiations. He was hospitalized from early March to late May 2023. Instead, Michael Ghiselli a
member of the Board of Directors for ADMI-NV and TMIX took control of the settlement discussions
with the Defendant Moyer. (Cellura Decl. ¶¶2 & 4.)
5
  Attorney Kouri would like the Court to view his communications being unanswered, despite his
direction not to serve his office. Although Defense Counsel must have known they did not advise
Plaintiffs’ Counsel that Attorney Kerns was facing a suspension and was disbarred post our Agreement.
Counsel only recently discovered the matter. This explains why Attorney Kerns never answered
inquires nor did he picked up Fed Ex package sent to him containing the pleadings before the Court
and their attempt to avoid New York as the proper venue, Under the circumstances, the Court should
employ its reasoning in the need to file the California Action to the exploits of Dickens's character,
Jack Dawkins, the Artful Dodger.
  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                                Page 7 of 18
         Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 12 of 22




              Time Limit for Service. If a defendant is not served within 90 days after the
              complaint is filed, the court—on motion or on its own after notice to the
              plaintiff— must dismiss the action without prejudice against that defendant
              or order that service be made within a specified time. But if the plaintiff
              shows good cause for the failure, the court must extend the time for service
              for an appropriate period. Fed. R. Civ. P. 4(m). (Emphasis added.)

        Of note, applying Local Rule 6, as the matter presents itself, even after the time has expired a

court must order that service is to be performed within a specified period for good cause. At the very

least the Agreement coupled with Court’s stay time remains under the Rule to perfect service, each are

factors which present good cause for enlarging Plaintiffs’ time to serve. Fed. R. Civ. P. 4(m).

        3.      The Court Granted a Stay, Plaintiff have Until at least October 13, 2023, to Serve.

        Defendant Moyer has and is intentionally avoiding service. He admits so by his Declaration.

Incredibly, Moyer states he would never permit his attorneys to accept service of process on his behalf,

and that despite the dates indicated in the non-service reports 11/7/2022, 11/19/2022, 11/21/2022, and

11/22/2023, he had no idea that someone was trying contact him at his house to be served. (Dkt-

41.2¶9.) All telling to the lack of good faith (and establishing good cause by itself) beyond his refusal

to accept service is that he never mentions the multiple attempts to serve at his office, the address listed

on his website and the California Secretary of State for Service of Process on him as Agent for ADMI-

CA. (Dkt-19 & 22.) Likewise, is any mention or denial of the Agreement with Attorney Kerns.

Plaintiffs’ Counsel has requested that Defense counsel accept service but so far, he has refused to do

so or acknowledge service of any documents on Plaintiffs behalf, whether directly served by Plaintiffs’

New York Counsel or California Counsel, including this Court’s Order to Show Cause and the

Complaint or Amended Complaint. (Dkt-32 & 48.) On this point, Plaintiffs have now unnecessarily

spent time and resources litigating and defending themselves in the California Action. By reason of

the Defendants refusal to accept service there has been unnecessary additional cost in both federal

actions, the full cost of which will be addressed once the Court rules on the Defendants’ motion.

  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                                Page 8 of 18
        Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 13 of 22




        Additionally, this Court must find that by reason of the November 2, 2023, filing of Plaintiffs’

New York Action and the Court granting its Stay of the proceedings based on the December 9, 2022,

Agreement among Counsel for the parties, Plaintiffs’ time to perfect service has not yet expired and

their motion for an enlargement of time to perfect service is timely. (Dkt-24.) The procedural posture-

timeline of the case provides that the Plaintiffs’ would still have time to serve and perfect service of

their original Complaint. (Dkt-5). Indeed, only 36 days had lapsed from the filing of Plaintiffs’ Action

to the stay, (November 2, 2022, to December 9, 2022) leaving 54 days to serve process. The stay was

lifted on July 28, 2023. Defendant filed their Motion on August 27, 2023. Plaintiffs filed their

Amended Complaint on September 11, 2023, the Amended Summons was issued on September

13, 2023. (Dkt-48 & 51.) Under the circumstances, less than a full 90 days have passed for the

purposes of service of process for each filed Complaint. Moreover, based on Defendants’ bad faith

good cause exists to enlarge Plaintiffs’ time for service of process for an additional 90 days.

                                             Argument II.

   A. Defendants’ Purposeful Activities in New York Establish Personal Jurisdiction
      Over Them Pursuant to New York’s Longarm Statute C.P.L.R. 302 (a)(1).

       “In a diversity case, the issue of jurisdiction is governed by the law of the forum state. D.H.

Blair Co., Inc. v. Gottdiener, 462 F.3d 95, 104 (2d Cir. 2006). The exercise of jurisdiction must also

comport with due process. Id. at 165. On a motion to dismiss, the plaintiff need only make a prima

facie showing that jurisdiction exists, see Best Van Lines, Inc. v. Walker, 490 F.3d 239, 242 (2d Cir.

2007), and because there has been no discovery in this case, Plaintiff also "need only make `legally

sufficient allegations of jurisdiction' through its pleading[s] and affidavits in order to survive a

motion to dismiss." Trceline Inv. Partners, LP v. Koren, No. 07 Civ. 1964, 2007 WL 1933860, at *2

(S.D.N.Y. July 3, 2007) (quoting In re Magnetic Audiotape Antitrust Litig., 334 F.3d 204, 206 (2d

Cir. 2003) (per curiam)).

  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                                Page 9 of 18
        Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 14 of 22




   1. Long-arm Jurisdiction Exits Over the Defendants Pursuant to N.Y. C.P.L.R. 302(a)(1).

       In New York, CPLR § 302(a) provides the statutory basis for “specific jurisdiction over a

non-domiciliary defendant arising out of particular acts.” Reich, 38 F. Supp. 3d at 457 (internal

quotation marks omitted), allowing a court to exercise personal jurisdiction over a non-

domiciliary who, in person or through an agent, "transacts any business" within the State,

provided that the cause of action arises out of the transaction of business (Lebel v Tello, 272

AD2d 103, 707 NYS2d 426 [1st Dept 2000]) or where a non-domiciliary committed a tortious

act within the state. Thus, to determine the existence of jurisdiction under section 302(a)(1),

a court must first decide (1) whether the defendant "transacts any business" in New York and,

if so, (2) whether this cause of action "aris[es] from" such business transaction (see Best Van

Lines, Inc. v Walker, Id, citing Deutsche Bank Securities, Inc. v Montana Board of

Investments, 7 NY3d 65 [2006]; Kreutter v McFadden Oil Corp., 71 NY2d 460, 467, 527

NYS2d 195 [1988]).

    When applying the first part of the test, courts look to "the totality of the defendant's

activities within the forum" (Deutsche Bank, 7 NY3d 65; Sterling Nat'l Bank & Trust Co. of

NY v Fidelity Mortgage Investors, 510 F2d 870, 873 [2d Cir1975]), to determine whether a

defendant has transacted business in such a way that it constitutes "purposeful activity,"

defined as "some act by which the defendant purposefully avails [themselves] of the privilege

of conducting activities within the forum State, thus invoking the benefits and protections of

its laws" (McKee Electric Co. Inc. v Rauland-Borg Corp, 20 NY2d 377, 382 [1967], quoting

Hanson v Denckla, 357 US 235, 253 [1958]; accord Fischbarg v Doucet, 9 NY3d 375, 380

[2007]). Turning to the second part of the test, "[a] suit will be deemed to have arisen out of a

party's activities in New York if there is an articulable nexus, or a substantial relationship,


  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                               Page 10 of 18
        Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 15 of 22




between the claim asserted and the actions that occurred in New York" (Deutsche Bank;

Henderson v INS, 157 F3d 106, 123 [2d Cir1998][internal quotation marks omitted]).

    Putting aside the lack of proper service argument, the Defendants’ claim, New York does

not have personal jurisdiction over them because, as best one could infer from the facial

conflicts and errant factual recitals in their submissions: 1) the Defendants do not transact

business, nor do they maintain any purposeful activity in New York; 2) that the last time they

had business contacts related to the state of New York was approximately 10 years ago. (Dkt-

41.2¶4.); 3) that Plaintiff Cellura and his companies are impersonating Moyer and ADMI

Incorporated in the State of New York, among other places. (Dkt-41.2 ¶¶13.); 4) that none of

the allegations in his complaint have anything to do with New York. (Dkt-41.2 ¶¶14.)

    Although the Defendant Moyer’s declaration denies having a business relationship

(transacting business) in New York, their California Action claims otherwise and establishing

the provisions of CPLR 302(a)(1) granting this Court authority over the Defendants. (Dkt-

27.2¶18.) The California Action expressly pleads that Defendant Moyer contacted ABG where

his communication concerned a direct nexus to the Plaintiffs’ New York Action, that Plaintiffs

impersonated him to obtain the ABG Agreement where the intended beneficiaries were

Defendant Moyer and ADMI-CA-ABG; not plaintiffs-ADMI-NV. Plaintiffs claim that contact

with ABG in New York was an act of fraud which was directed at and intended to interfere in

their Agreement with ABG and other prospective partners to that Agreement.

     The California Action provides express allegations, that “[a]fter [Defendant Moyer and

ADMI-CA] missed out on the agreement with Authentic Brands, [Defendant Moyer] contacted

Authentic Brands and inquired why Authentic Brands chose to enter into an agreement with [ADMI-

NV]. In response, Authentic Brands indicated confusion and told [Defendant Moyer] that Authentic


  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                               Page 11 of 18
          Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 16 of 22




Brands believed to have entered an agreement with [Defendant Moyer and ADMI-CA]. Authentic

Brands entered into the agreement with [ADMI-NV] based upon confusion caused by [ADMI-NV’s]

misleading and deceptive impersonation of [Moyer and ADMI-CA]. Authentic Brands was

especially vulnerable to such deception because of its prior business relationship with [Moyer

and ADMI-CA].” (Emphasis added.) Dkt-27.2¶18.)

      “It is well-settled that CPLR 302(a)(1) is a ‘single-act’ statute, meaning that ‘proof of one

transaction in New York is sufficient to invoke jurisdiction [under 302(a)(1)], even though the

defendant never enter[ed] New York, so long as the defendant's activities here were purposeful

and there is a substantial relationship between the transaction and the claim asserted.’” Salomon

Smith Barney, Inc. v. McDonnell, 201 F.R.D. 297, 303 (S.D.N.Y) quoting PDK Labs, Inc. v.

Friedlander, 103 F.3d 1105, 1109 (2d Cir.1997), in turn citing Kreutter v. McFadden Oil Corp.,

71 N.Y.2d 460, 467, 527 N.Y.S.2d 195, 522 N.E.2d 40 (1988)).

      Although not necessarily a single act transaction due to multiple unlawful acts of

conspiracy fraud and extortion directed at ADMI-NV in New York, (Exhibit’s “D”-“H”.),

even if it were a single act, it not only affects the ABG Agreement with ADMI-NV but directly

interfered with the proposed partnership between ADMI-NV and Maharaj. (Dkt-48¶76-98 &

Cellura Decl. ¶¶18-27.)

         Plaintiffs’ claims that the Defendants acts are tied, and constitute a direct nexus to their

stated business activities and prove that the Defendant Moyer’s Declaration is untrue on its

face; falsely claiming that he has not engaged in business activities in New York for over 10

years; proven so and confirmed by his website 6 and an email he sent to Cellura on February



6
  Moyer’s website expressly offers his services worldwide. (http://www.admii.com) Moyer claimed
to Cellura he was hired to update and build out the Apple Store In 2019-2020. (Cellura Decl. ¶11.) The
statement like most of Moyer’s claims that he has not engaged in business in New York for over 10
    Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                                 Page 12 of 18
        Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 17 of 22




13, 2021, requesting and Cellura’s providing an introduction to ABG executives in New York.

(Dkt-27.2¶18; Cellura Decl. ¶19-20; Exhibits “B & C”.) Noteworthy, the February 2021,

introduction can only mean that any claimed business relationship with ABG occurred after

February 2021, and is in opposition to the claim there was no business activity for the period

10 years before Plaintiffs’ filed their New York Action. (Dkt-27.2¶18.) Clearly, Defendants

had no prior relationship with ABG and were claiming a right to the May 2021, Agreement

Plaintiffs had with ABG. If it were, otherwise, Defendant Moyer would not have needed

an introduction.

       The proof is that the Defendants have created a false claim in California related to

purposeful activity concerning the ADMI-NV-ABG Agreement, contacting ABG in New

York and claiming their rights were lost as the intended beneficiary of the Agreement; and

that they were harmed; sending emails and letters to Plaintiffs unlawfully demanding money

and securities, conspiring to coercion, and extortion Plaintiffs and others who would benefit

from contracting with Plaintiffs.          (Cellura Decl. Exhibit “D”-“H”.) The Defendants’

unlawful-unjustified acts purposefully interfered in Plaintiffs’ New York business

opportunities. (Cellura Decl. Passim.)

       Although the extent and manner of communication with ABG is not yet clear, the fact

that the transaction occurred by telephone calls, facsimile transmission of documents, and

the delivery of documents into New York but without the physical presence of the Defendant

is of no moment. “New York law has moved away from the requirement of having a physical

meeting in order to exercise jurisdiction.” DLJ Mortgage, 2007 WL 4325893, at *4, fn. 10

(citing Fischbarg v. Doucet, 38 A.D.3d 270 (N.Y. App. Div. 1st Dep't 2007) “Courts will


years is untrue. He claims a business relationship with ABG which must have occurred after 2021 and
involve the core right to the ABG Agreement. (Dkt-27.2 ¶18, Cellura Decl. Passim.)
  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                               Page 13 of 18
        Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 18 of 22




sustain jurisdiction based solely on telephone calls and facsimile communications in cases

where the communication clearly shows that the defendant intended to project itself into New

York commerce.” Serio v. Surge Resources, Inc., 2006 WL 559460, at *4 (S.D.N.Y. March

7, 2006). There can be little doubt this was Defendants’ purpose and intent.

    The admission set forth in the California Action establish a business relationship among

Defendants and ABG concerning Plaintiff’s New York contract and their claim of intended

rights to the ABG Agreement easily satisfy the first prong of the § 301(a)(1) inquiry. (Dkt-

27.2¶18.)     Their acts of contacting ABG to further their fraud falsely claiming a right to

the benefits of the Agreement and the accompanying misrepresentation, is the nexus for a

claim a conspiracy to extortion and constitutes the Defendants’ purposeful activities in New

York. (Dkt-48¶¶110-128, Cellura Decl. Passim; Exhibits “B’-“H”.)

    There can be little doubt, these acts give rise to the core claims in this action, thus

satisfying the second prong of the § 301(a)(1) inquiry. Sole Resort, S.A. de C.V. v. Allure

Resorts Mgmt., LLC, 450 F.3d 100, 103 (2d Cir. 2006) (A claim “arises from” a transaction

when there is “some articulable nexus between the business transacted and the cause of action

sued upon, or when there is a substantial relationship between the transaction and the claim

asserted.”)(citation omitted). Both principles are satisfied in this case.

    In short, by their own admissions, Defendants have reached into the forum state, New

York, interfering with Plaintiffs’ business activities, admitting to transacting business in New

York involving claims core to the Plaintiffs’ New York Action a business relationship with

ABG concerning a falsely disputed matter, rights under the branded license Agreement

subject to New York law and the Plaintiffs’ rights where the damages suffered are fixed in

New York having a direct nexus to the Defendant unlawful activity. (Cellura Decl. Passim.)


  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                               Page 14 of 18
         Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 19 of 22




    2. Defendants’ Acts Constitute Minimum Contacts and Satisfy Due Process.

     “Due process permits a court to exercise personal jurisdiction over a non-resident where the

maintenance of the suit would not offend traditional notions of fair play and substantial justice.”

Porina v. Marward Shipping Co., Ltd., 521 F.3d 122, 127 (2d Cir. 2008) (internal quotations and

citation omitted). “Once the Court is satisfied there are sufficient minimum contacts with the forum to

justify the court's exercise of personal jurisdiction. . . . [the Court must] proceed to the second stage of

the due process inquiry, and consider whether the assertion of personal jurisdiction is reasonable under

the circumstances of the particular case.” Id. (internal quotations and citations omitted).

     When a defendant purposely places the issue “between himself and residents of the forum,

he manifestly has availed himself of the privilege of conducting business [and] . . . it is

presumptively not unreasonable to require him to submit to the burdens of litigating in that forum

as well.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476 (1985). Under the facts as alleged

and supported by the record thus far, the Court should find that under the totality of the

circumstances Defendants’ claim of entitlement to Plaintiffs’ New York Agreement with ABG,

claiming a damages by reason of their false impersonation in New York, and Plaintiffs’ claim the

Defendants have interfered in their rights under the Agreement, due process is satisfied and the

exercise of personal jurisdiction over Defendants is reasonable. Serio, 2006 WL 559460, at *4.

        Cleary, Defendant Moyer could foresee his acts having consequences in New York. He

intended them too, specifically claiming rights under the ADMI-NV and ABG Agreement, thus

establishing minimum contacts with the forum state, and making the Defendants subject to New

York’s long arm jurisdiction pursuant to CPLR 302(a)(1), for their tortious acts.

        Notwithstanding the clear fact that the Defendants’ claims are far-fetched; that ABG

thought it had entered the Agreement with ADMI-NV and not Defendant Moyer and ADMI-CA


  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                               Page 15 of 18
         Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 20 of 22




based upon “confusion” caused by the Plaintiffs’ misleading and deceptive impersonation claiming

that ABG was especially vulnerable to such deception because of its prior business relationship

with Defendants, the claim itself places the entire Agreement and the rights of the parties at issue

under New York law for jurisdiction purposes satisfying the second prong of the test for due process.

    3. Plaintiffs are Entitled to an Order Granting Discovery to Avoid Injustice.

     Plaintiffs have met their burden of proof under either standard of a prima facia case; Best Van

Lines, Inc. v. Walker, 490 F.3d 239, 242 (2d Cir. 2007) or simply legally sufficient allegations of

jurisdiction; Trceline Inv. Partners, LP v. Koren, No. 07 Civ. 1964, 2007 WL 1933860, at *2 (S.D.N.Y.

July 3, 2007).   Under the competing facts claimed, although there can be little doubt of Defendants

purposeful activity in New York, Plaintiffs are entitled to disclosure on the issue of personal

jurisdiction. A determination at this stage of the proceeding that personal jurisdiction is lacking over

the Defendants pursuant to CPLR 302(a)(1) would be premature, considering Plaintiffs’ showing that

facts and exhibits exists in contradiction to the Defendants present claims essential to justify a ruling

on their Motion. If the Court is unsure of its power-jurisdiction over the Defendants, a determination

of it should be made only after discovery (Sony Music Entertainment Inc. v Does 1-40, 326 FSupp2d

556 [SDNY 2004][the court has discretion to allow discovery to determine the basis for personal

jurisdiction], citing Volkart Bros., Inc. v M/V Palm Trader, 130 FRD 285, 290 [SDNY 1990]).

    4. The First to file Rule is Controlling not the First to Serve.

        The Defendants not only violated their Agreement, but as argued in Plaintiffs’

Memorandum of Law in support of enjoining the California Action, the Action is nothing more

than a compulsory counterclaim to the New York action, thus allowing this Court to enjoin

Defendants from prosecuting the California Action pursuant to Fed. R. Civ. P. 13(a) and requiring

them to file an answer before this Court. (Dkt-27 Pg 7¶1.)


  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                               Page 16 of 18
        Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 21 of 22




       Indeed, there is a presumption that because Plaintiff’s case was filed earlier it takes priority.

See, e.g., Employers Ins. of Wausau v. Fox Entertainment Group, Inc., 522 F.3d 271, 274 (2d Cir.

2008). Under the “first-filed” rule, “[w]here there are two competing lawsuits, the first suit

should have priority.” New York Marine and General Ins. Co. v. LaFarge North America, Inc.,

599 F.3d 102, 112 (2d Cir. 2010) (quoting D.H. Blair & Co., Inc. v. Gottdiener, 462 F.3d 95, 106

(2d Cir. 2006). See also Ontel Products, Inc. v. Project Strategies Corp., 899 F. Supp. 1144, 1150

(S.D.N.Y. 1995) (“Where lawsuits concerning the same parties and issues are pending in two

federal districts, the first-filed rule of the Second Circuit generally affords priority to the first-

filed suit when courts choose which suit to permit to go forward.” [citing] First City Nat’l Bank

& Trust v. Simmons, Page 878 F.2d 76, 79 (2d Cir. 1989); Meeropol v. Nizer, 505 F.2d 232, 235

(2d Cir. 1974); Employers Ins. of Wausau v. Fox Entertainment Group, Inc., 522 F.3d 271, 274-

75 (2d Cir. 2008). The operative date in applying this rule is the date of filing, and not service.

(Dkt-5.) In this case the filing occurred long before the California Action was filed. See, e.g.,

Schnabel v. Ramsey Quantitative Systems, Inc., 322 F. Supp.2d 505, 511 (S.D.N.Y. 2004).

   5. New York is the Proper Venue.

       Finally, although presented in Plaintiffs’ Motion to Enjoin, the Defendants have not

satisfied their burden under 28 U.S.C. § 1404(a) by showing that transfer of their California action

is not warranted "for the convenience of the parties and witnesses, in the interest of justice."

District courts have broad discretion in making determinations of convenience under Section

1404(a) and notions of convenience and fairness are considered on a case-by-case basis. In re

Cuyahoga Equip. Corp., 980 F.2d 110, 117 (2d Cir. 1992). Some of the factors a district court is

to consider are, inter alia: "(1) the plaintiffs choice of forum, (2) the convenience of witnesses, (3)

the location of relevant documents and relative ease of access to sources of proof, (4) the


  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                               Page 17 of 18
         Case 1:22-cv-09339-ALC Document 55 Filed 09/25/23 Page 22 of 22




convenience of parties, (5) the locus of operative facts, (6) the availability of process to compel

the attendance of unwilling witnesses, [and] (7) the relative means of the parties." Albert Fadem

Trust v. Duke Energy Corp., 214 F.Supp.2d 341, 343 (S.D.N.Y. 2002).

        Applying these factors, Plaintiffs have met their burden as claimed establishing venue is

proper in New York. (Dkt-27.) This Court should hold the Plaintiffs, a New York headquartered

company chose New York as its forum, their decision is given great weight as a determining factor

in enjoining a second action. Piper Aircraft Co. v. Reyno, 454 U.S. 235, 255, 102 S.Ct. 252, 70

L.Ed.2d 419 (1981). Second, New York is a convenient forum for all the witnesses who are in

New York. Likewise, all the documents and other evidence regarding the claims are available in

New York.

                                              Conclusion.

        This case is a prime example of the gamesmanship the Second Circuit has rejected in any

attempt to avoid service and venue. The Circuit’s holdings are on point with the power of this

Court to avoid the Defendants’ conduct and attempt to usurp the power of this Court to assert

personal jurisdiction over them. It is the first to file rule that is controlling in this case, not service,

especially on the facts and law before the Court proving personal jurisdiction was avoided causing

unnecessary cost and delay in these proceedings.

Dated: September 25, 2023

                                                   Douglas R. Dollinger, Esq., 5922
                                                   Law Offices of Douglas R. Dollinger, PC
                                                   570 County Rt 49
                                                   Middletown, New York 10940
                                                   Phone | 845.741.9363
                                                   Email ddollingeresq@gmial.com
                                                   Attorney for Plaintiffs




  Plaintiffs’ Memorandum Response to Defendants’ FRCP 12(b)(2) & (5) Motion and in Support of Cross-Motions.

                                                                                               Page 18 of 18
